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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,               )
                                          )
                       Plaintiff,         )
                                          )              8:03R395
               vs.                        )
                                          )               ORDER
  DARIES L. DEVERS,                       )
                                          )
                       Defendant.         )

        Defendant Daries L. Devers appeared before the court on Tuesday,
  September 7, 2010 on a Petition for Warrant or Summons for Offender Under
  Supervision [149]. The defendant was represented by Assistant Federal Public
  Defender Jessica P. Douglas and       the United States was represented by
  Assistant U.S. Attorney Russell X. Mayer. The government did not request
  detention. The Defendant was not entitled to a preliminary examination.
        I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Judge Smith Camp.
        IT IS ORDERED:
        1.     A final dispositional hearing will be held before Judge Laurie Smith
  Camp in Courtroom No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South
  18th Plaza, Omaha, Nebraska, on October 4, 2010 at 9:00 a.m .    Defendant must
  be present in person.
        2.     The defendant is released on current conditions of supervision.
        DATED this 8th day of September, 2010.

                                                 BY THE COURT:

                                                 s/ F. A. Gossett
                                                 United States Magistrate Judge
